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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                                      :
Z.P.                                                  :       CIVIL ACTION
                                                      :       NO. 3:19-cv-00315-CSH
                       PLAINTIFF                      :
                                                      :
v.                                                    :
                                                      :
YALE UNIVERSITY,                                      :
YALE-NEW HAVEN HOSPITAL,                              :
PETER SALOVEY,                                        :
JONATHAN HOLLOWAY,                                    :       December 11, 2020
DR. LORRAINE SIGGINS,                                 :
JOHN DOES 1-3,                                        :
JANE DOES 1-3,                                        :
                                                      :
                       DEFENDANTS                     :
                                                      :



                   JOINT REQUEST FOR NEW SCHEDULING ORDER
       The parties hereby request the court to grant a revised scheduling order in this matter
because critical discovery from the plaintiff was not received until several days ago. The complaint
alleges that the plaintiff continues to experience pain and suffering resulting from the defendants’
decision to require her withdrawal from school after she was hospitalized pursuant to a Physician’s
Emergency Certificate in November, 2016. She was hospitalized for 12 days and was required to
be withdrawn from campus for the remainder of the Fall, 2016 semester and the Spring, 2017
semester. she was reinstated to the university for the Fall, 2017 semester. She completed her
course work by the end of the Fall, 2017 semester, six months after her original anticipated
graduation date of May, 2017.

       The plaintiff filed this action in November, 2018 seeking to recover damages for the alleged
lost earnings and emotional distress associated with the defendants’ decision to withdraw her from
the university following her hospitalization. Given the damage claims, the plaintiff’s mental health
and earnings records are critical to the discovery in this case, and particularly, to the defendants’
preparation for the deposition of not only the plaintiff herself, but of her family members, who


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became intimately involved with the withdrawal process of the plaintiff from the university in
2016.

        Discovery requests were propounded to the plaintiff on July 2, 2020, and the plaintiff
submitted a partial response on October 23, 2020. However, due to the fact that the plaintiff is
now living in Tokyo, Japan and has been treating with a therapist there, the plaintiff encountered
significant difficulty obtaining her medical records from her Japanese mental health care provider.

        The plaintiff also alleges that she suffered economic damages resulting from the delay in
finishing school and commencing her career. Due to the fact that her employment has been in
Japan, the plaintiff also encountered difficulty obtaining her employment records. Those records
have now been provided.

        The defendants have been unable to move forward with the depositions of the plaintiff and
her family without a full review of the health care, income and taxation records since they go
directly to the only damages alleged by the plaintiff. Therefore, the parties respectfully request that
the scheduling order be amended to provide additional time in which to complete the discovery
required in this matter, in accordance with the following schedule:



              ACTION                        DATE DUE                     DATE REQUESTED
        Status Report Filed       November 24, 2020                   November 24, 2020
        All discovery
        completed, included
                                  December 14, 2020                   March 30, 2021
        expert reports and
        depositions:
        Schedule Telephone
                                  December 21, 2020                   Week of April 5, 2021
        Conference with Court
        Dispositive Motions
        Filed, or Joint Trial     January 13, 2021                    June 15, 2021
        Memorandum
        Trial Ready               February, 2021                      July 15, 2021




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                                      THE DEFENDANTS,
                                      YALE UNIVERSITY,
                                      YALE-NEW HAVEN HOSPITAL,
                                      PETER SALOVEY, JONATHAN HOLLOWAY,
                                      AND DR. LORRAINE SIGGINS


                                                 BY: _______________/s/________________
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                                                     pnoonan@ddnctlaw.com


                                      THE PLANTIFF,
                                      Z.P.

                                                  BY: _______________/s/________________
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                                                      60 Park Pl.
                                                      Newark, NJ 07102
                                                      (973) 643-1930
                                                     robertjdegroot@aol.com



                                       CERTIFICATION


        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.




                                                      _______________/s/________________
                                                               Patrick M. Noonan




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